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                                                                                                     Transmittal Number: 19902534
Notice of Service of Process                                                                            Date Processed: 06/05/2019

Primary Contact:           Osvaldo Ramirez
                           Clear Blue Financial Holdings, LLC
                           B7 Tabonuco Street
                           Suite 912
                           Guaynabo, PR 00968
                           PR

Entity:                                       Clear Blue Insurance Company
                                              Entity ID Number 3186928
Entity Served:                                Clear Blue Insurance Company
Title of Action:                              Alicia Biela vs. Clear Blue Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Galveston County Court at Law, TX
Case/Reference No:                            CV-0084011
Jurisdiction Served:                          TX
Date Served on CSC:                           06/03/2019
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Omar Ochoa
                                              956-630-3266

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